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                    Exhibit A

Fee Summary by Professional for the Period
February 1, 2016 through February 29, 2016
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                                                EFH Corp
                                         Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                 February 01, 2016 - February 29, 2016

Bankruptcy Related Research Consultation and Transaction
Professional             Level                                             Rate      Hours        Fees
Bradfield, Derek         Partner/Principal                            $720.00         1.5     $1,080.00
Carr, Vickie             Partner/Principal                            $720.00         2.0     $1,440.00
Halfacre, Dean           Partner/Principal                            $720.00         1.8     $1,296.00
Hoffman, David           Partner/Principal                            $720.00         1.0       $720.00
Kushner, Jonathan        Partner/Principal                            $720.00        10.8     $7,776.00
Parker, Matt             Partner/Principal                            $720.00        54.5    $39,240.00
Smith, Wyn               Partner/Principal                            $720.00         0.8       $576.00
Stokx, Randy             Partner/Principal                            $720.00        20.3    $14,616.00
Wegener, Steve           Partner/Principal                            $720.00         0.8       $576.00
Bihm, Christy            Director                                     $720.00         0.5       $360.00
Favor, Rick              Director                                     $720.00         2.3     $1,656.00
Alimchandani, Hero       Senior Manager                               $620.00         4.0     $2,480.00
Bowers, Rachel           Senior Manager                               $620.00         7.7     $4,774.00
Degnan, Jen              Senior Manager                               $620.00         1.0       $620.00
Handler, Benjamin        Senior Manager                               $620.00         6.0     $3,720.00
Hickl, Jeff              Senior Manager                               $620.00         0.5       $310.00
Furry, Margaret          Manager                                      $540.00         5.0     $2,700.00
Murawski, Bryan          Manager                                      $540.00        14.5     $7,830.00
Butler, Mike             Senior Consultant                            $425.00         5.9     $2,507.50
Grace, Kelsey            Consultant                                   $350.00         1.3       $455.00
Professional Subtotal:                                                              142.2    $94,732.50
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                                                  EFH Corp
                                             Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                 February 01, 2016 - February 29, 2016

Financial Statement Audit and Related Services
Professional             Level                                               Rate      Hours        Fees
Becker, Paul             Partner/Principal                              $365.00         0.8       $292.00
Benesh, Kay              Partner/Principal                              $365.00       102.9    $37,558.50
Blair, Kirk              Partner/Principal                              $365.00         1.2       $438.00
Carr, Vickie             Partner/Principal                              $365.00        31.6    $11,534.00
Janiak, Stacy            Partner/Principal                              $365.00         6.0     $2,190.00
Kilkenny, Tom            Partner/Principal                              $365.00         9.7     $3,540.50
Mano, Patrice            Partner/Principal                              $365.00         1.5       $547.50
Parker, Matt             Partner/Principal                              $365.00       260.4    $95,046.00
Poindexter, Heath        Partner/Principal                              $365.00        96.1    $35,076.50
Smith, Wyn               Partner/Principal                              $365.00         0.8       $292.00
Stokx, Randy             Partner/Principal                              $365.00       155.2    $56,648.00
Wahrman, Julie           Partner/Principal                              $365.00       101.5    $37,047.50
Winger, Julie            Partner/Principal                              $365.00        35.3    $12,884.50
Biltz, Meredith          Director                                       $365.00         2.8     $1,022.00
Craig, Valerie           Director                                       $365.00       213.5    $77,927.50
Dunn, Phyllis            Director                                       $365.00        10.3     $3,759.50
Ellsworth, Rick          Director                                       $365.00         1.0       $365.00
Favor, Rick              Director                                       $365.00        81.9    $29,893.50
Johnson, Michael         Director                                       $365.00        55.9    $20,403.50
Khandelwal, Vinyas       Director                                       $365.00        28.5    $10,402.50
Ryan, Jim                Director                                       $365.00        23.4     $8,541.00
Sasso, Anthony           Director                                       $365.00        13.7     $5,000.50
Bowers, Rachel           Senior Manager                                 $290.00       262.2    $76,038.00
Carlson, Mike            Senior Manager                                 $290.00         1.6       $464.00
Dwivedi, Rajesh          Senior Manager                                 $290.00         5.0     $1,450.00
Garner, Kristen          Senior Manager                                 $290.00         0.8       $232.00
Hannagan, Peter          Senior Manager                                 $290.00         1.5       $435.00
Hickl, Jeff              Senior Manager                                 $290.00        75.9    $22,011.00
Horn, Dave               Senior Manager                                 $290.00         9.4     $2,726.00
Kurey, Joseph            Senior Manager                                 $290.00         2.9       $841.00
Parmar, Ashok            Senior Manager                                 $290.00         5.0     $1,450.00
Singh, Amit              Senior Manager                                 $290.00         7.9     $2,291.00
Thomas, Teresa           Senior Manager                                 $290.00         2.5       $725.00
Alvarado, Jason          Manager                                        $265.00         3.6       $954.00
Auyeung, Tungjun         Manager                                        $265.00        36.8     $9,752.00
Freeman, Mike            Manager                                        $265.00       287.2    $76,108.00
Harold, Matt             Manager                                        $265.00         2.6       $689.00
Kowalk, Bennett          Manager                                        $265.00       193.8    $51,357.00
Morehead, David          Manager                                        $265.00       308.7    $81,805.50
Murawski, Bryan          Manager                                        $265.00       266.5    $70,622.50
Phadke, Amolika          Manager                                        $265.00         3.4       $901.00
Tangirala, Hershy        Manager                                        $265.00        17.5     $4,637.50
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                                                 EFH Corp
                                         Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
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Financial Statement Audit and Related Services
Professional             Level                                             Rate      Hours           Fees
Continued
Tillman, Kyle            Manager                                      $265.00         29.9       $7,923.50
Varkey, Jamie            Manager                                      $265.00          1.8         $477.00
Zoltowski, Michelle      Manager                                      $265.00         11.0       $2,915.00
Babanova, Maria          Senior Consultant                            $215.00        308.5      $66,327.50
Brunson, Steve           Senior Consultant                            $215.00        313.5      $67,402.50
Casey, Chris             Senior Consultant                            $215.00        312.4      $67,166.00
Coetzee, Rachelle        Senior Consultant                            $215.00        226.4      $48,676.00
Evetts, Erin             Senior Consultant                            $215.00         54.6      $11,739.00
Henry, Diane             Senior Consultant                            $215.00        304.1      $65,381.50
Richards, Nick           Senior Consultant                            $215.00         14.6       $3,139.00
Schneider, Stephen       Senior Consultant                            $215.00         41.4       $8,901.00
Twigge, Daniel           Senior Consultant                            $215.00        262.9      $56,523.50
Yadav, Devavrata         Senior Consultant                            $215.00         53.5      $11,502.50
Anant, Nimisha           Consultant                                   $175.00         15.0       $2,625.00
Arora, Jasreen           Consultant                                   $175.00          8.3       $1,452.50
Baylis, Jessica          Consultant                                   $175.00          7.1       $1,242.50
Benvenuti, Christina     Consultant                                   $175.00        303.9      $53,182.50
Bhandari, Shalabh        Consultant                                   $175.00          5.0         $875.00
Bhatia, Sarabjit         Consultant                                   $175.00          0.7         $122.50
Chawla, Samridhi         Consultant                                   $175.00          0.2          $35.00
Chesser, Taylor          Consultant                                   $175.00        256.7      $44,922.50
Claytor, Kate            Consultant                                   $175.00         34.4       $6,020.00
Danwani, Nikita          Consultant                                   $175.00         26.0       $4,550.00
Din, Anisa               Consultant                                   $175.00        183.7      $32,147.50
Elliott, Randall         Consultant                                   $175.00         43.0       $7,525.00
Friedland, Eric          Consultant                                   $175.00         27.3       $4,777.50
Grace, Kelsey            Consultant                                   $175.00        156.1      $27,317.50
Gupta, Anitya            Consultant                                   $175.00          0.5          $87.50
Koprivnik, Xander        Consultant                                   $175.00        260.4      $45,570.00
Lirely, Loren            Consultant                                   $175.00        291.3      $50,977.50
Nasa, Srishti            Consultant                                   $175.00         52.6       $9,205.00
O'Donnell, Chris         Consultant                                   $175.00         22.2       $3,885.00
Padhi, Pavitra           Consultant                                   $175.00          2.0         $350.00
Pansari, Anubhav         Consultant                                   $175.00         78.3      $13,702.50
Parsley, Jon             Consultant                                   $175.00         23.0       $4,025.00
Persons, Hillary         Consultant                                   $175.00        287.8      $50,365.00
Pothoulakis, Tony        Consultant                                   $175.00        313.5      $54,862.50
Sachdeva, Rahul          Consultant                                   $175.00         12.5       $2,187.50
Saini, Sonali            Consultant                                   $175.00          4.5         $787.50
Sharma, Abhishek         Consultant                                   $175.00         10.0       $1,750.00
Professional Subtotal:                                                             7,089.4   $1,698,523.50
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                                                   EFH Corp
                                              Deloitte & Touche LLP
                                 Fees Sorted by Category for the Fee Period
                                     February 01, 2016 - February 29, 2016

Non-Working Travel
Professional                 Level                                            Rate      Hours         Fees
Favor, Rick                  Director                                    $365.00         8.0     $2,920.00
Hickl, Jeff                  Senior Manager                              $290.00        22.5     $6,525.00
Tillman, Kyle                Manager                                     $265.00         0.2        $53.00
Professional Subtotal:                                                                  30.7     $9,498.00

Adjustment
Less 50% Non-Working Travel Deduction                                                           ($4,749.00)
Total                                                                                            $4,749.00
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                                                 EFH Corp
                                          Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
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Preparation of Fee Applications
Professional             Level                                              Rate      Hours        Fees
Murawski, Bryan          Manager                                       $265.00        14.7     $3,895.50
Gutierrez, Dalia         Project Controller                            $175.00        41.0     $7,175.00
Professional Subtotal:                                                                55.7    $11,070.50
